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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF INDIANA
                            INDIANPOLIS DIVISION

 ––––––––––––––––––––––––––––––––––––––––––
                                              )
 UNITED STATES OF AMERICA,                    )
                                              )    Case No. 1:08-cr-39-SEB-MJD
      Plaintiff,                              )
                                              )
 v.                                           )    ORAL ARGUMENT
                                              )    REQUESTED
 DARRYL TAYLOR,                               )
                                              )
      Defendant.                              )
                                              )
                                              )
 ––––––––––––––––––––––––––––––––––––––––––


              MEMORANDUM OF LAW IN SUPPORT OF MOTION
       FOR SENTENCE REDUCTION PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(i)




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                                       INTRODUCTION

        In 2007, Darryl Taylor, then 21 years old, participated in one armed robbery and one

 attempted armed robbery in Indianapolis, Indiana. No one was physically injured during either

 crime, and less than $250 was stolen. However, due to the “stacking” of charges under 18

 U.S.C. § 924(c), Taylor was sentenced by this Court to a prison term of 37 years, driven by a

 mandatory and consecutive 35 years on Taylor’s two § 924(c) charges.

        Taylor, now 37 years old, has grown and matured over the course of 15 years in custody.

 He has accepted responsibility for his actions and is not the same impulsive youth who

 committed the robberies over 16 years ago. Because of the First Step Act of 2018 and the

 Supreme Court’s 2022 decision in United States v. Davis and United States v. Taylor, Taylor

 would not face the same “stacked” charges today.

        Although this Court acknowledged at sentencing that the mandatory time was “not

 reasonable,” it denied his 2020 motion for a sentence reduction because it concluded that under

 then-controlling Seventh Circuit precedent it did not have the authority to consider whether non-

 retroactive changes in the law could constitute an extraordinary and compelling reason

 warranting a sentence reduction. That has now changed.

        The United States Sentencing Commission (the “Commission”), which was directed by

 Congress to provide binding guidance to courts on sentence reduction motions, has recently

 amended § 1B1.13 of the Sentencing Guidelines (the “Guidelines”). Among other things, the

 amended policy statement authorizes courts to grant relief where there are extraordinary and

 compelling circumstances like those in Taylor’s case. Specifically, § 1B1.13 now makes clear

 that where a non-retroactive change in law is so significant that it has created a gross disparity

 between an unusually long sentence being served and the sentence a defendant would likely

 receive today, and the defendant has served at least ten years of the sentence, that may be
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 considered an extraordinary and compelling reason justifying relief.        The amended policy

 statement abrogates United States v. Thacker, 4 F.4th 569 (7th Cir. 2021), and gives this Court

 the authority to grant Taylor the second chance he has worked tirelessly towards for the past 16

 years. We respectfully ask this Court to reduce Taylor’s sentence to time served.

                                         BACKGROUND

        Darryl Taylor was raised in a stable, two-parent household with seven siblings in

 Indianapolis, Indiana. He stayed out of trouble at home and in school, and paid rent to his

 parents after graduating from high school even though they did not ask him to do so. When

 Taylor was 21 years old, he had a daughter with whom he now speaks almost every day. Prior to

 his current conviction, he did not have any serious criminal history.

        On September 30, 2007, and October 1, 2007, just weeks before the birth of his daughter,

 Taylor and an accomplice robbed one Indianapolis convenience store and attempted to rob

 another. In total, a few packs of cigarettes and less than $250 were stolen. And although Taylor

 had a firearm on his person, no shots were fired and no one was injured during the commission

 of either of these offenses. The Court noted at sentencing that Taylor’s conduct that weekend

 “was just almost beyond understanding because it’s not consistent with anything anyone else

 knows about you.” Dkt. No. 79 (Sent’g Tr.) at 9.

        Although initially arrested and charged on state robbery charges that would have carried

 an approximately six-year prison sentence, Taylor was charged federally with one count of

 Hobbs Act robbery, one count of attempted Hobbs Act robbery, and two counts under § 924(c).

 Dkt. No. 1 (Indictment). After a jury trial, he was convicted on all counts and, on June 11, 2009,

 he was sentenced to a prison term of 37 years—a term the Court described as unreasonable. Dkt.

 No. 79 (Sent’g Tr.) at 6–7. The robbery and attempted robbery convictions accounted for only

 24 months of that term; the remainder was the result of the mandatory, consecutive 10-year term


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 on the first § 924(c) count and the mandatory, consecutive 25-year term on the second § 924(c)

 count. Dkt. No. 63 (Judgment).1

        Taylor is now 37 years old. He has been in custody for 15 years, with a projected release

 date of October 18, 2040. Ex. A, Sentence Monitoring Computation Data, at 3 (Nov. 20, 2023).

 During his time in custody, Taylor has accepted responsibility for his prior actions and has

 consistently worked to improve himself.             He has completed a prodigious amount of

 programing—approximately 10,000 hours of classes, apprenticeships, and job training programs,

 Ex. B, Inmate Education Data Transcript (Sept. 10, 2023)—and is prepared to support himself

 and his family and to meaningfully contribute to his community upon release. See Ex. C, Letter

 of Support from Amanda Anderson; Ex. D, Letter of Support from Lauren Taylor.

        In December 2020, Taylor moved for an order reducing his sentence to time served

 pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), arguing that the First Step Act, combined with his

 rehabilitation and young age at the time of sentencing, warranted a reduction. Dkt. No. 104

 (2020 Motion for Sentence Reduction). The Court denied that motion after explaining that

 binding Seventh Circuit precedent at the time—Thacker, 4 F.4th at 569—prevented it from

 considering whether a non-retroactive change in law could be an “extraordinary and compelling”

 reason to reduce Taylor’s sentence. Dkt. No. 133 at 4–5 (Order Denying 2020 Motion for

 Sentence Reduction).

        The Commission’s recently-amended policy statement for sentence reductions, § 1B1.13,

 which is binding on the Court, provides for a sentence reduction based on a change in the law

 1
     Separately, Taylor’s second 28 U.S.C. § 2255 motion to vacate his sentence is still pending before
     the Seventh Circuit, where he awaits a ruling on his application for a certificate of applicability.
     Darryl Taylor v. United States, No. 18-1813 (7th Cir.). In that motion, he argues that the sentence
     enhancement for his attempted Hobbs Act Robbery conviction is invalid following Supreme Court
     decisions in Johnson v. United States, 576 U.S. 591, 606 (2015), United States v. Davis, 139 S. Ct.
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 under very narrow circumstances like the ones presented here. The amended policy statement

 abrogates the Seventh Circuit precedent that bound the Court’s decision three years ago and

 provides an avenue for the Court to correct Taylor’s unreasonably long sentence.

                                            ARGUMENT

        The Commission’s amended policy statement guides sentence reduction motions in all

 Circuits and displaces the interim guidance in Thacker by making clear that Congress’s non-

 retroactive change to § 924(c)’s sentencing provisions can constitute an extraordinary and

 compelling reason for a sentence reduction in certain narrow circumstances. See Ex. E, Amends.

 to the Sent’g Guidelines, at 5.

        Specifically, non-retroactive changes in the law are extraordinary and compelling reasons

 when (a) “a defendant received an unusually long sentence”; (b) the defendant has “served at

 least ten years of the term of imprisonment”; and (c) “a change in the law . . . would produce a

 gross disparity between the sentence being served and the sentence likely to be imposed at the

 time the motion is filed.” § 1B1.13(b)(6). 2 Taylor is precisely the type of defendant the

 Commission contemplated when it amended § 1B1.13. His sentence was unusually long; he has

 served fifteen years of it; and if sentenced today, he would likely receive a much shorter term of

 imprisonment.

        Those features of Taylor’s case, in combination with the other reasons presented in this

 motion, constitute extraordinary and compelling reasons for a sentence reduction. Independently

 of that ground, Taylor’s profound transformation while incarcerated, his detailed release plan,


 2
     See Ex. E, at 11. All citations to § 1B1.13 are to the policy statement as amended effective
     November 1, 2023. Official text of the adopted amendments, policy statement, official commentary,
     and statutory index, as submitted to Congress on April 27, 2023, is available on the United States
     Sentencing Commission website at: https://www.ussc.gov/sites/default/pdft/amendment-
     process/official-text-amendments/202305_Amendments.pdf.



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 and the strong support from his family and community support a sentence reduction under the

 “Other Reasons” provision in § 1B1.13(b)(5), and the relevant § 3553(a) sentencing factors

 weigh strongly in favor of a reduction in sentence to time served.3

        A.      This Court Now Has the Authority to Grant the Relief Requested.

        The amended § 1B1.13 gives this Court the authority it previously concluded it lacked to

 grant the relief that Taylor requests. It is the result of a valid exercise, after extensive public

 comment and hearings, of the Commission’s statutory authority—and duty—under 28 U.S.C.

 § 994(t) to guide courts in determining whether “extraordinary and compelling reasons” warrant

 a reduction in sentence. In the wake of the First Step Act, there was no applicable Commission

 policy statement for prisoner-initiated compassionate release motions, and courts were left to

 determine on their own the contours of “extraordinary and compelling reasons.” United States v.

 Gunn, 980 F.3d 1178, 1180–81 (7th Cir. 2020).            Faced with the absence of Commission

 guidance, the Seventh Circuit in Thacker concluded that Congress’s non-retroactive changes to

 the practice of “stacking” enhanced § 924(c) sentences could not constitute an extraordinary and

 compelling reason. Thacker, 4 F.4th at 575. But now the Commission, which had lacked a

 quorum for years, has addressed the issue, and its binding guidance that a non-retroactive change

 in law can in very narrow circumstances constitute an extraordinary and compelling reason

 abrogates Thacker. This Court thus has the authority to decide that the First Step Act’s changes

 to § 924(c) sentencing, in light of the other features of Taylor’s case, presents an extraordinary

 and compelling reason to reduce his sentence.




 3
     Taylor has exhausted his administrative remedies. Taylor’s request for compassionate release was
     delivered to the Warden of FCI Thomson’s mailing address on December 6, 2023. On January 11,
     2024, the Warden denied Mr. Taylor’s request, see Ex. F, and this motion followed.



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                1.      Congress Directed the Commission to Provide Guidance to Courts on
                        “Extraordinary and Compelling Reasons.”

        The statutory framework for sentence reduction motions makes clear that the

 Commission’s policy statements provide binding guidance on whether a reason can qualify as

 “extraordinary and compelling.” Through § 3582(c)(1)(a)(i), Congress empowered courts to

 modify a sentence of imprisonment if “extraordinary and compelling reasons warrant such a

 reduction.” As discussed below, Congress specifically directed the Commission to provide

 guidance for its exercise, and it just as specifically directed district courts to follow that

 guidance.

        Congress intended when it enacted the Sentencing Reform Act of 1984 to authorize

 sentencing relief for “unusually long sentences” where justified by “changed circumstances,”

 including “extraordinary and compelling circumstances.” See S. Rep. No. 98–225, at 55 (1983),

 as reprinted in 1984 U.S.C.C.A.N. 3182, 3238–39. But rather than define “extraordinary and

 compelling” reasons, Congress directed the Commission to provide the requisite guidance. See

 United States v. Green, No. 2:15-cr-25, 2023 WL 5994140, at *1 (N.D. Ind. Sept. 15, 2023)

 (“Congress did not define ‘extraordinary and compelling reasons’ in § 3582(c)(1)(A), instead

 delegating this task to the Sentencing Commission.”). Specifically, 28 U.S.C. § 994(t) directs

 the Commission to “describe what should be considered extraordinary and compelling reasons

 for sentence reduction,” including the “criteria to be applied and a list of specific examples.”

 Congress allocated that responsibility to the Commission because it understood that sentencing

 raises “the sort of intricate, labor-intensive task for which delegation to an expert body is

 especially appropriate.” See Mistretta v. United States, 488 U.S. 361, 379 (1989). Accordingly,

 Congress “delegated significant discretion to the Commission to draw judgments from its

 analysis of existing sentencing practice.” Id.



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        The only limitation Congress imposed on the Commission’s authority to describe what

 circumstances can amount to “extraordinary and compelling reasons” was the explicit statement

 in § 994(t) itself that rehabilitation alone could not suffice. 28 U.S.C. § 994(t). The amended

 policy statement does not exceed that boundary and thus is a valid exercise of the Commission’s

 authority.

        Congress also made clear in the sentence reduction statute itself that courts must act

 consistently with the Commission’s applicable policy statement regarding what can constitute

 “extraordinary and compelling reasons.” See 18 U.S.C. § 3582(c)(1)(A); see also Gunn, 980

 F.3d at 1180 (“the statute’s trailing paragraph . . . says that a reduction must be ‘consistent with

 all ‘applicable’ policy statements.”). As the Supreme Court recently explained, the provision is

 an example of “Congress expressly cabin[ing] district courts’ discretion by requiring courts to

 abide by the Sentencing Commission’s policy statements.” Concepcion v. United States, 142 S.

 Ct. 2389, 2401 (2022) (emphasis added).

        The text of § 994(t) plainly gives the Commission, not the courts, the authority to define

 what constitutes “extraordinary and compelling reasons.”          To conclude otherwise would

 contravene a direct Congressional command. The Supreme Court has explained that where

 Congress delegates authority to an agency to define a term, it “entrusts [the agency], rather than

 the courts,” with the primary responsibility for interpreting that statutory term, and therefore, “a

 reviewing court is not free to set aside those regulations simply because it would have interpreted

 the statute in a different manner”; instead, it must find that the agency “exceeded its statutory

 authority.” Batterton v. Francis, 432 U.S. 416, 425 (1977); see also Rush Univ. Med. Ctr. v.

 Burwell, 763 F.3d 754, 761 (7th Cir. 2014) (“Once we determine that Congress intended to

 delegate authority to define a statutory term to an agency, we will give the agency's definition




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 controlling weight unless it is based on an impermissible construction of the statute.”) (internal

 quotations omitted). The fact that the Seventh Circuit, in the absence of an applicable policy

 statement, provided different interim guidance does not alter the fact that the expert guidance the

 Commission has now provided controls.

                2.       The First Step Act – Congress Fixes § 924(c) and Removes BOP as the
                         Sentence Reduction Gatekeeper.

        Before the First Step Act, the applicable policy statement, § 1B1.13, provided binding

 guidance to courts on what could constitute “extraordinary and compelling reasons” for

 compassionate release motions submitted by the BOP. See United States v. Kurzynowski, 17

 F.4th, 756, 759 (7th Cir. 2021) (recognizing that the original version of § 1B1.13 was “binding”

 for BOP motions). However, the landscape changed dramatically with the First Step Act, which

 amended both § 924(c) and the sentence reduction statute, § 3582(c)(1)(A). As the Department

 of Justice recently acknowledged, the First Step Act “was the culmination of a bipartisan effort

 to improve criminal justice outcomes and reduce the size of the federal prison population, while

 maintaining public safety.”4

        On the § 924(c) front, Section 403 of the First Step Act clarified that Congress never

 intended the enhanced, 25-year mandatory consecutive sentences for “second or successive”

 § 924(c) convictions to apply when those convictions came in the same case as the first such

 conviction. The law amended § 924(c) so that will never happen again.5 The amendment was

 made partially retroactive to offenses committed before the law was passed, but only where the


 4
     U.S. Dep’t of Just., Off. of the Att’y Gen., First Step Act Annual Report, at 4 (April 2023), available
     at https://www.ojp.gov/first-step-act-annual-report-april-2023 (emphasis added).
 5
     Separately, as Taylor argues in request for a certificate of appealability concerning his motion to
     vacate his sentence, a defendant charged with attempted Hobbs Act Robbery does not qualify for a
     sentence enhancement under 18 U.S.C. § 924(c). Supra n.1.



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 defendant had not yet been sentenced. In other words, it was not made categorically retroactive

 to the sentences of all inmates serving “stacked” § 924(c) sentences. However, nothing in the

 language of § 403 prevents courts from considering a change in the law in making the

 individualized inquiry required for a sentence reduction under § 3582(c)(1)(A). That limitation

 is a product of decisions such as Thacker, not an express directive of Congress.

        Prior to the First Step Act, sentence reductions under § 3582(c)(1)(A) were available only

 on a motion brought by the BOP. The BOP rarely exercised its power to seek relief, and when it

 did, it filed motions only on behalf of elderly, extremely ill inmates.6 As a result, a generation of

 lawyers, judges, and inmates came to believe that “compassionate release” (a term found

 nowhere in the statute) was hardly ever available, and when it was, it was limited to those narrow

 circumstances.        The First Step Act amended § 3582(c)(1)(A) to allow inmates to file

 compassionate release motions themselves, even in the absence of BOP support and indeed even

 if the BOP had affirmatively rejected the inmate’s request for a BOP motion. See Thacker, 4

 F.4th at 572 (“No longer do [prisoners] have to persuade and depend on the [BOP] to bring the

 motion on their behalf, which rarely happened before the First Step Act.”).

                  3.      For Three-Plus Years, Sentence Reduction Motions Are Decided Without
                          an Applicable Policy Statement.

        The First Step Act’s creation of a new sentence-reduction mechanism—prisoner-initiated

 compassionate release motion—created a need for new policy guidance from the Commission.

 As fate would have it, the First Step Act was signed into law the month before the Sentencing

 Commission lost its quorum for a period that lasted more than three and a half years. As a result,


 6
     See, e.g., U.S. Dep’t of Just., Off. of the Inspector Gen., The Fed. Bureau of Prisons’ Compassionate
     Release Program at 11 (Apr. 2013) (“[T]he BOP [did] not properly manage the compassionate
     release program, resulting in inmates who may be eligible candidates for release not being
     considered”).



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 until November 1, 2023, the “Sentencing Commission ha[d] not updated its policy statements to

 implement the First Step Act” and “the Guidelines Manual lack[ed] an ‘applicable’ policy

 statement covering prisoner-initiated applications for compassionate release.” Gunn, 980 F.3d at

 1180–81.

        While the First Step Act changed the procedure for compassionate release motions, it did

 not alter the Commission’s preexisting authority pursuant to § 994(t) to provide binding

 guidance on “extraordinary and compelling reasons” for courts in future policy statements.

 United States v. King, 40 F.4th 594, 596 (7th Cir. 2022) (“The First Step Act did not create or

 modify the ‘extraordinary and compelling reasons’ threshold for eligibility; it just added

 prisoners to the list of persons who may file motions.”). In other words, the Commission

 maintained the authority to define “extraordinary and compelling reasons” for prisoner-initiated

 compassionate release motions, but was not immediately able to exercise that authority.

        Thus, when Taylor filed his previous motion for compassionate release in 2020, courts

 had broad discretion to determine the contours of “extraordinary and compelling reasons” for

 prisoner-initiated motions because there was no applicable policy guidance. See United States v.

 Vaughn, 62 F.4th 1071, 1073 (7th Cir. 2023) (“[I]n the absence of guidance from the Sentencing

 Commission, identifying the threshold is committed to the discretion of district judges”); Gunn,

 980 F.3d at 1180 (“[B]ecause the Guidelines Manual lacks an applicable policy statement, the

 trailing paragraph of § 3582(c)(1)(A) does not curtail a district judge’s discretion”).7

        In the absence of guidance from the Commission, most circuits, including the Seventh

 Circuit before Thacker, allowed district judges to consider a broad range of issues, including


 7
     See also Thacker, 4 F.4th at 573 (“[U]ntil the Sentencing Commission update[d] its policy statement
     to reflect prisoner-initiated compassionate release motions, district courts ha[d] broad discretion to
     determine what else may constitute extraordinary and compelling reasons.”).



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 non-retroactive changes in sentencing law, when considering whether “extraordinary and

 compelling reasons” existed. See United States v. Black, 999 F.3d 1071, 1075 (7th Cir. 2021)

 (“Congress’s policy choice not to make the changes to § 924(c) categorically retroactive does not

 imply that district courts may not consider those legislative changes when deciding individual

 motions for compassionate release like this one.”).8 During this period, district judges around

 the country, including in this Circuit, demonstrated a hunger to reduce unusually long sentences

 that had been mandated by the government’s use of § 924(c). United States v. Peoples, No.

 3:98-CR-55(3)-RLM, 2021 WL 2414102, at *6–7 (N.D. Ind. June 14, 2021) (defendant’s stacked

 § 924(c) charges constituted an “unreasonable sentence”), opinion vacated on reconsideration

 due to Thacker (Aug. 23, 2021); United States v. Rollins, 540 F. Supp. 3d 804, 808–10 (N.D. Ill.

 2021) (reducing “unusually long” sentence comprised of § 924(c) counts); United States v.

 Haynes, No. 4:96-CR-40034, 2021 WL 406595, at *5–6 (C.D. Ill. Feb. 5, 2021) (agreeing with

 “growing faction of courts” that “the severity of a § 924(c) sentence, combined with the

 enormous disparity between that sentence and the sentence a defendant would receive today, can

 constitute an ‘extraordinary and compelling’ reason for relief”), appeal dismissed, No. 21-1386,

 2021 WL 3908914 (7th Cir. May 10, 2021).

        Although the Seventh Circuit recognized that district courts had broad discretion to

 decide compassionate release motions in the absence of an applicable policy statement, the

 Seventh Circuit concluded in the absence of guidance from the Commission that the First Step

 Act’s change to § 924(c) sentencing could not constitute an extraordinary and compelling reason


 8
     See also United States v. Ruvalcaba, 26 F.4th 14, 16, 26–28 (1st Cir. 2022) (non-retroactive changes
     in sentencing law may be considered in light of a defendant’s particular circumstances); United
     States v. McCoy, 981 F.3d 271, 286–88 (4th Cir. 2020) (same); United States v. Chen, 48 F.4th 1092,
     1098 (9th Cir. 2022) (same); United States v. McGee, 992 F.3d 1035, 1046–48 (10th Cir. 2021)
     (same).



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 warranting a sentence reduction. See Thacker, 4 F.4th at 576. This put the Seventh Circuit on

 one side of a circuit split over whether the First Step Act’s amendment of § 924(c) could amount

 to an “extraordinary and compelling” reason warranting a sentence reduction.9

         The Seventh Circuit acknowledged that guidance from the Commission would change its

 interim understanding of the issue. See United States v. Williams, 65 F.4th 343, 345 (7th Cir.

 2023) (“Until the Commission definitively says otherwise, we will not deviate from our current

 understanding.”); cf. Gunn, 980 F.3d at 1180–81 (“[W]e hope that the Sentencing Commission’s

 ability to revise its guidelines and policy statements will be restored”). The government likewise

 has recognized that new guidance from the Commission could make Thacker moot. In response

 to inmate-filed petitions requesting the Supreme Court to resolve the circuit split, the government,

 relying on Braxton v. United States, 500 U.S. 344, 348 (1991), successfully opposed those

 petitions on the ground that the Commission should do so instead. Br. for the United States in

 Opp’n to Grant of Cert., Jarvis v. United States (No. 21-568), at 19, 20–21. In successfully

 preventing Supreme Court review of Thacker and other decisions like it, the government

 explained that the “Commission could promulgate a new policy statement that deprives a

 decision by this Court of any practical significance.”10


 9
      Compare Ruvalcaba, 26 F.4th at 16, 26–28 (holding that non-retroactive changes in sentencing law
      may be considered in light of a defendant’s particular circumstances); McCoy, 981 F.3d at 286–88
      (same); Chen, 48 F.4th at 1098 (9th Cir. 2022) (same); and McGee, 992 F.3d at 1047–48 (same),
      with United States v. Andrews, 12 F.4th 255, 260–62 (3d Cir. 2021), cert. denied, 142 S. Ct. 1446
      (2022) (holding that non-retroactive changes in law are not permissible considerations); United
      States v. McMaryion, No. 21-50450, 2023 WL 4118015, at *2 (5th Cir. 2023 June 22, 2023) (same);
      United States v. McCall, 56 F.4th 1048, 1061–62 (6th Cir. 2022) (en banc) (same); King, 40 F.4th at
      595 (same); United States v. Crandall, 25 F.4th 582, 585–86 (8th Cir. 2022) (same); and United
      States v. Jenkins, 50 F.4th 1185, 1198 (D.C. Cir. 2022) (same).
 10
      Br. for the United States in Opp’n to Grant of Cert., United States v. Thacker (No. 21-877), at 2; see
      also Br. for the United States in Opp’n to Grant of Cert., United States v. Williams (No. 21-767), at 2
      (same); Br. for the United States in Opp’n to Grant of Cert., United States v. Watford (No. 21-551),
      at 2 (same); Br. for the United States in Opp’n to Grant of Cert., Jarvis v. United States (No. 21-
      568), at 17–20 (same).


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               4.      The Commission Resolves the Circuit Split and Gives Courts the
                       Authority to Consider a Very Narrow Category of Unusually Long
                       Sentences as Presenting an “Extraordinary and Compelling” Reason to
                       Reduce a Sentence in the Circumstances Presented Here.

        The Commission has now provided the guidance Congress instructed it to provide, and in

 doing so has made clear that certain non-retroactive changes in law can indeed constitute an

 extraordinary and compelling reason for a reduction in sentence, but only in a narrow set of

 circumstances. To echo the government’s argument opposing Supreme Court review of Thacker,

 the Commission’s new guidance “deprives” existing Seventh Circuit case-law such as Thacker

 “of practical significance.” See Br. For the United States in Opp’n to Grant of Cert., Thacker

 (No. 21-877), at 2; see also United States v. Black, 815 F.3d 1048, 1056 (7th Cir. 2016)

 (explaining that the Commission’s guidance on what constitutes a “tax loss” under U.S.S.G.

 § 2T1.1 abrogated an earlier ruling by the Seventh Circuit that excluded courts from considering

 certain unclaimed deductions when calculating a tax loss under § 2T1.1). Courts around the

 country, including within this circuit, have already begun rejecting the government’s challenges

 to the validity of the Commission’s authority. See United States v. Allen, No. 1:09-cr-320, 2024

 WL 631609, at *5 (N.D. Ga. Feb. 12, 2024) (concluding there is no separation of powers issues

 impacting the Sentencing Commission’s authority); United States v. Capps, No. 1:11-cr-00108-

 AGF, 2024 WL 880554, at *7 (E.D. Mo. Jan. 31, 2024) (“Congress broadly empowered and

 directed the Commission to issue binding guidance as to what circumstances qualify for potential

 reduction. Nothing in the statute’s text prohibits the Commission from considering

 nonretroactive changes in the law as extraordinary and compelling reasons for a sentence

 reduction.”); United States v. Brown, No. 2:95-cr-66(2), 2024 WL 409062, at *5–6 (S.D. Ohio

 Feb. 2, 2024) (“Congress did delegate authority to the Commission to interpret the meaning of

 the phrase ‘extraordinary and compelling.’ . . . [I]n this Court’s view, § 1B1.13(b)(6) ‘does not



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 even approach these limits of the delegated authority.’” (internal citations omitted)); United

 States v. Padgett, No. 5:06-cr-13 (RH), 2024 WL 676767, at *4 (N.D. Fla. Jan. 30, 2024)

 (finding that the Sentencing Commission’s new amendments have altered what can be

 considered “extraordinary and compelling” as “Congress explicitly delegated primary

 responsibility to the Sentencing Commission, whose duly enacted policy statement thus is

 ‘entitled to more than mere deference or weight’” (internal citations omitted)).

        The amended policy statement did not only abrogate the holding in Thacker that changes

 to § 924(c) can never be an “extraordinary and compelling” reason for a sentence reduction. The

 amendments equally placed additional limits on when Courts could consider non-retroactive

 changes in the law as a basis for sentence reductions, effectively abrogating circuit court

 decisions on both sides of the previously existing circuit split. See United States v. Boyer, No.

 1:14-cr-00035, 2023 WL 8927607, at *2 (N.D. Ind. Dec. 26, 2023) (“The case law debate has

 been mooted by the passage of time. On November 1, 2023, long-adopted amendments to

 U.S.S.G. § 1B1.13 went into effect.”). In resolving the circuit split, the Commission looked to

 the guidance of courts on both sides of the argument and fashioned a provision stating that non-

 retroactive changes in the law “may be considered in determining whether the defendant presents

 an extraordinary and compelling reason,” but only under certain limited circumstances.

 § 1B1.13(b)(6); see also Ex. E, at 6 (the Commission “adopt[ed] a tailored approach that

 narrowly limits that principle in multiple ways”). Specifically, such a change in law may present

 an “extraordinary and compelling reason” only when: (a) the defendant is serving an unusually

 long sentence; (b) the defendant has served at least ten years of the sentence; and (c) an

 intervening change in the law has produced a gross disparity between the sentence being served

 and the sentence likely to be imposed at the time the motion is filed. § 1B1.13(b)(6). Other than




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 in these narrow circumstances, a court may consider a non-retroactive change in the law only for

 the purpose of determining the degree of a reduction in a sentence where extraordinary and

 compelling reasons have been otherwise established. § 1B1.13(c). In this respect, the amended

 policy statement aligns with Thacker’s view that nonretroactive changes in the law should not

 generally provide a basis for relief under § 3582(c)(1)(A).

                5.     The Court is No Longer Bound by Thacker’s Interim Guidance.

        Because the Commission has adopted a policy statement that abrogates Thacker, this

 Court has the authority to consider whether Taylor meets the Commission’s criteria. Recent

 decisions by this Court have questioned (without deciding) “whether the Sentencing Commission

 exceeded its authority when it added [changes in the law] to the list of potentially extraordinary

 and compelling reasons warranting a sentence reduction under § 3582(c)(1)(A)(i).” United

 States v. Young, No. 110-CR-00003 (SEB) (MJD), 2024 WL 554276, at *4 (S.D. Ind. Feb. 9,

 2024); United States v. Tinsley, No. 117-CR-00064 (SEB) (MJD), 2024 WL 181704, at *3 (S.D.

 Ind. Jan. 17, 2024); United States v. Nunez, No. 104-CR-00161 (SEB) (DKL), 2024 WL 51189,

 at *3 (S.D. Ind. Jan. 3, 2024). But “before a judicial construction of a statute, whether contained

 in a precedent or not, may trump [the Commission’s], the court must hold that the statute

 unambiguously requires the court's construction.” Nat'l Cable & Telecomms. Ass'n v. Brand X

 Internet Servs., 545 U.S. 967, 985 (2005). Thacker made no such holding, nor could it have

 done so. As the Seventh Circuit explained in Rush University Medical Center: “When a statute

 specifically authorizes an agency to define a term, there is no need to consider whether the term

 is ambiguous and thus left to agency delegation. The logical assumption is that Congress

 thought there was work for the agency to do—namely, to define the [term].” 763 F.3d at 760.

        The statutory interpretation expressed in Thacker—a Circuit decision issued to fill a void

 in the absence of an applicable policy statement—cannot override the Commission’s


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 congressionally-delegated authority to describe the term “extraordinary and compelling,” nor can

 it preclude the Commission from issuing a conflicting policy statement. See Black, 815 F.3d at

 1056; see also Brand X Internet Servs., 545 U.S. at 982–83 (“Only a judicial precedent holding

 that the statute unambiguously forecloses the agency's interpretation, and therefore contains no

 gap for the agency to fill, displaces a conflicting agency construction.”); Batterton, 432 U.S. at

 425 (“A reviewing court is not free to set aside those regulations simply because it would have

 interpreted the statute in a different manner.”). Put differently, Thacker and its progeny no

 longer have any binding effect on this Court. Thacker and its progeny were decided at a time

 when there was no applicable policy statement, and there was a circuit split on the interpretation

 of “extraordinary and compelling.”      Only a finding by the U.S. Supreme Court that the

 consideration of non-retroactive changes in the law “bears no relationship to any recognized

 concept of [extraordinary and compelling]” would displace the Commission’s amendments

 describing those terms and providing for consideration of non-retroactive changes in the law

 under the narrow circumstances outlined in (b)(6). See Batterton, 432 U.S. at 428; Rush Univ.

 Med. Ctr., 763 F. 3d at 761. And the Supreme Court has not weighed in on this question

 because, as discussed above, the government successfully encouraged it not to. One would think

 that if the government actually believed the Commission lacked the authority to resolve the

 circuit split, it would never have urged the Supreme Court to refrain from resolving it in favor of

 the Commission doing so. See United States v. Martinez, No. 2:01-cr-00564-TC, 2024 WL

 866822, at *5 (D. Utah Feb. 29, 2024) (“The government’s position in this case contradicts its

 previous position that the circuit split should be resolved by the Sentencing Commission. Indeed,

 in issuing this guidance, the Sentence Commission opined on the circuit split because it typically

 resolves such disagreements when they relate to its guidelines or policy statements.” (internal




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 quotation marks and citations omitted)). In any event, the Commission, acting pursuant to and

 within its statutory mandate, resolved the circuit split, and Taylor is precisely the type of

 defendant the Commission’s amended policy statement contemplates. See Brown, 2024 WL

 409062, at *5 (“[Section] 1B1.13(b)(6) does not even approach these limits of the

 [Commission’s] delegated authority” (internal quotation marks omitted)). Thacker no longer

 stands in the way to this Court granting relief.11

         B.      Extraordinary and Compelling Circumstances Warrant a Reduction in
                 Taylor’s Sentence.

         Under the § 1B1.13 of the U.S. Sentencing Guidelines, Taylor’s unusually long sentence,

 the gross disparity created by his stacked § 924(c) charges, his young age at the time of the

 offenses and lack of criminal history, his family support and strong release plan, and his

 exemplary rehabilitation record constitute extraordinary and compelling reasons warranting a

 sentence reduction to time served. And although rehabilitation cannot, standing alone, constitute

 an extraordinary and compelling reason, rehabilitation may be considered in conjunction with

 other reasons to meet the threshold. U.S.S.G. § 1B1.13(d) (“[R]ehabilitation of the defendant

 while serving the sentence may be considered in combination with other circumstances in

 11
      The only district court in this Circuit to address this question correctly concluded that
      “‘extraordinary and compelling’ is ambiguous, so the Seventh Circuit's interpretation of that term
      does not prevent the Commission from construing that term differently.” United States v. Black, No.
      05 CR 70-4, 2024 WL 449940, at *8 (N.D. Ill. Feb. 6, 2024) (citing Brand X Internet Servs., 545
      U.S. at 982–83). However, applying the second part of the test outlined in Chevron U.S.A., Inc. v.
      Nat. Res. Def. Council, 467 U.S. 837, 844 (1984), the court held that subsection (b)(6) was an
      “unreasonable” interpretation of § 3582(c) in light of Thacker’s holding that the non-retroactive
      change to § 924(c) could not be “extraordinary and compelling,” and therefore Thacker still
      controlled. See id. But this holding misses the mark in two important respects. First, Brand X
      makes clear that “[a] court's prior judicial construction of a statute trumps an agency construction
      otherwise entitled to Chevron deference only if the prior court decision holds that its construction
      follows from the unambiguous terms of the statute and thus leaves no room for agency discretion.”
      545 U.S. at 982. Second, the proper question here is not whether the Commission’s interpretation of
      § 3582(c)(1)(A) was “reasonable.” As discussed above, where Congress delegates to an agency the
      authority to define a statutory term, the agency’s definition is controlling unless it exceeds the “limits
      of the delegated authority.” Batterton, 432 U.S. at 428; see also Brown, 2024 WL 409062, at *5.



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 determining whether and to what extent a reduction in the defendant’s term of imprisonment is

 warranted.”).12

                   1.    Taylor’s Unusually Long Sentence, Combined with His Ten-Plus Years
                         Served and the Dramatic Disparity Caused by a Nonretroactive Change in
                         Law Presents an Extraordinary and Compelling Reason for Relief Under
                         Subsection (b)(6).

         Taylor meets all three criteria that § 1B1.13(b)(6) requires for a defendant’s unusually

 long sentence to constitute an extraordinary and compelling reason for a sentence reduction. As

 previously discussed, courts may now consider a non-retroactive change in sentencing law to be

 an extraordinary and compelling reason when (1) the defendant is serving an unusually long

 sentence; (2) the defendant has served at least 10 years of that sentence; and (3) an intervening

 change in the law has produced “a gross disparity between the sentence being served and the

 sentence likely to be imposed at the time the motion is filed.” § 1B1.13(b)(6).

         First, Taylor’s 37-year sentence, for offenses in which no one was physically harmed and

 little was stolen, is indisputably “unusually long.” Between fiscal years 2013 and 2022, “fewer

 than 12 percent (11.5%) of all offenders were sentenced to a term of imprisonment of ten years

 or longer.” Ex. E, at 6. And in fiscal year 2022, the average sentence imposed for post-First

 Step Act federal robbery offenders also convicted of a § 924(c) charge was approximately 12.5




 12
      See also United States v. Peoples, 41 F.4th 837, 842 (7th Cir. 2022) (agreeing that “‘there is no
      indication that successful rehabilitation efforts may not be considered as one among other factors’
      warranting a reduced sentence under § 3582(c)(1)(A)”) (citing McCoy, 981 F.3d at 286 n. 9); United
      States v. Logan, No. 07 CR 270-2, 2023 WL 2771165, at *6 (N.D. Ill. Apr. 4, 2023) (“[E]ven if the
      [sentencing disparity] issue discussed in the previous section is insufficient in and of itself to
      constitute an extraordinary and compelling reason warranting consideration of compassionate
      release, it qualifies when combined with Logan’s rehabilitation.”); United States v. Williams, No. 06
      CR 50055-(1), 2020 WL 6940788, at *4 (N.D. Ill. Nov. 25, 2020) (considering sentencing disparity
      created by § 924(c) sentencing changes in combination with rehabilitation in granting motions for
      compassionate release).



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 years. U.S. Sent’g Comm’n, Quick Facts Robbery Offenses, 1 (Aug. 2023).13 Taylor’s sentence,

 by contrast, is over 27 years longer than 88% of all other defendants sentenced in the last decade,

 see Ex. E, at 6, and more than quadruple the average sentence imposed for federal robbery

 offenders in fiscal year 2022. U.S. Sent’g Comm’n, Sourcebook of Federal Sentencing Statistics

 tbl. 15 (2022) (average sentence for robbery nationwide was 106 months). Of defendants

 convicted under § 924(c) in 2022, less than 0.1% were sentenced to more than 30 years in

 prison.14 Courts in this circuit have confirmed the obvious: that stacked § 924(c) sentences like

 Taylor’s are unusually long.15

         Second, Taylor has served 15 years in prison.

         Finally, two intervening changes in the law have produced a “gross disparity” between

 Taylor’s current sentence and the sentence he would likely receive today. Taylor received a 37-

 year sentence, driven by the mandatory and consecutive 35 years he received for his two

 “stacked” § 924(c) counts. This Court recognized that it was “almost impossible” to craft a

 reasonable sentence because the law allowed federal prosecutors to stack a 25-year mandatory

 minimum to a second conviction in a single prosecution. Dkt. No. 79 (Sent’g Tr.) at 2:9–14.




 13
      Available at https://www.ussc.gov/sites/default/files/pdf/research-and-publications/quick-
      facts/Robbery_FY22.pdf.
 14
      U.S. Sent’g Comm., FY22 Quick Facts on 18 U.S.C. § 924(c) Firearms Offenses, 2 (April 2023),
      https://www.ussc.gov/sites/default/files/pdf/research-and-publications/quick-
      facts/Section_924c_FY22.pdf.
 15
      See United States v. Sparkman, No. 09-cr-0332-07, 2020 WL 6781793, at *8 (N.D. Ill. Nov. 18,
      2020) (concluding that a 30-year mandatory minimum for two stacked § 924(c) counts was “far
      greater than necessary” and was “profound[ly] excessive[]”); Haynes, 2021 WL 406595, at *6
      (“While Defendant’s multiple armed robbery crimes were undeniably serious, the Court doubts any
      reasonable person would suggest they are deserving of a sentence 5 times the length of the average
      sentence for murder.”); Rollins, 540 F. Supp. 3d at 808–10 (concluding that sentence of four stacked
      § 924(c) counts was, “beyond dispute” an “unusually long” sentence, that was “grossly excessive,
      especially because nobody was physically injured during the robberies”).



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         In 2018, the First Step Act eliminated the ability of federal prosecutors to “stack”

 enhanced § 924(c) penalties in a defendant’s first § 924(c) case. See First Step Act of 2018,

 § 403(a), 132 Stat. 5194, 5222.          Taylor would no longer receive a mandatory 25-year

 consecutive sentence for the second § 924(c) count. At most, his mandatory minimum sentence

 would be 20 years—17 less than his current sentence.

         In United States v. Davis, the Supreme Court held that the residual clause of § 924(c) is

 unconstitutionally vague. 139 S. Ct. at 2336 (2019). In Taylor, the Supreme Court held that

 attempted Hobbs Act robbery cannot constitute a crime of violence and under the force clause of

 § 924(c), and so, with Davis, attempted Hobbs Act robbery can never serve as a predicate for a

 §924(c) conviction. Taylor, 142 S. Ct. at 2025. Accordingly, had Taylor been sentenced today,

 he would face a mandatory minimum of—at most—10 years on one § 924(c) count,16 making his

 likely prison sentence 12 years (10 years on one § 924(c) count and 2 years on the underlying

 robberies). These significant changes in law have created the gross disparity between the

 sentence Taylor is serving and the one he would likely receive today, and that is consistent with

 decisions of other courts in this circuit and across the country that disparities like Taylor’s

 warrant a reduction in sentence.17


 16
      The Supreme Court nullified the use of attempted Hobbs Act robbery as a sufficient predicate for a
      § 924(c) conviction. Taylor, 142 S. Ct. at 2020–21.
 17
      See, e.g., Williams, 2020 WL 6940788, at *3 (concluding that 18-year difference between sentence
      received and “the sentence Congress has now deemed warranted for the second § 924(c) conviction
      supports finding an extraordinary and compelling reason for a sentence reduction”); United States v.
      Brown, No. 01-CR-196-JPS, 2020 WL 4569289, at *4 (E.D. Wis. Aug. 7, 2020) (concluding that 18-
      year difference in mandatory § 924(c) sentences before and after the First Step Act was a “significant”
      disparity contributing to extraordinary and compelling circumstances warranting sentence reduction);
      United States v. Shaw, No. 5:13-CR-00025, 2021 WL 300726, at *5 (W.D. Va. July 15, 2021)
      (concluding a 22-month sentencing disparity constitutes an extraordinary and compelling reason
      warranting a sentence reduction); United States v. Griner, Crim. No. 07-160 PJM, 2023 WL
      2025079 , at *2 (D. Md. Feb. 14, 2023) (concluding that a 7.5-year sentence disparity “constitutes an
      ‘extraordinary and compelling’ circumstance” warranting a sentence reduction); United States v.
      Glover, No. 8:07-CR-00960-JMC-15, 2022 WL 3025753, at *5 (D.S.C. Aug. 1, 2022) (concluding a


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         In short, Taylor is a perfect example of the kind of defendant the Commission envisioned

 when expanding the definition of “extraordinary and compelling reasons” to include certain

 narrowly-cabined unusually long sentences. A sentence reduction to time served would diminish

 the injustice that resulted from his stacked § 924(c) convictions as well as the disparity between

 his sentence then and the one he would likely receive today.

                 2.      Taylor Has Presented Sufficient and Independent Grounds for Relief
                         Under Subsection (b)(5)’s “Other Reasons” Provision.

         Separate and apart from the “unusually long sentence” provision of the Commission’s

 new guidance, there is another basis for determining that Taylor’s case presents extraordinary

 and compelling reasons warranting a reduction in sentence. The amended § 1B1.13 provides in

 subsection (b)(5) that reasons other than, but similar in gravity to, the specified ones (old age,

 medical condition, extraordinary family circumstances, and sexual abuse in prison), may

 constitute extraordinary and compelling reasons for relief.                § 1B1.13(b)(5).       And the

 Commission’s stated “Reasons for Amendment” specifically placed its imprimatur on the

 reasons on which district judges around the country based sentenced reductions in the nearly

 four-year period between the First Step Act and the effective date of the amendments to

 § 1B1.13.18 Those included the length of the sentence in relation to the underlying offenses,

 relative youth at the time of the offenses of conviction, his exemplary rehabilitation and his

 strong family support and release plan.


      74-month sentencing difference constitutes an extraordinary and compelling reason warranting a
      sentence reduction).
 18
      “The Commission recognized that during the period between the enactment of the First Step Act in
      2018 and this amendment, district courts around the country based sentence reductions on dozens of
      reasons and combinations of reasons. Based on a careful review of those cases, the Commission
      continues to believe what is stated in Application Note 4 to the current policy statement, i.e., that
      judges are ‘in a unique position to determine whether the circumstances warrant a reduction.’”
      Ex. E, at 5.



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                         a.       The Court May Consider the Length of Taylor’s Sentence under
                                  Subsection (b)(5).

         The plain language of § 1B1.13(b)(5) allows this Court to consider the length of a

 Taylor’s sentence in evaluating whether a combination of circumstances, taken together,

 warrants a reduction of his sentence.            After identifying four specific circumstances in

 § 1B1.13(b)(1)–(4) (medical circumstances, age, family circumstances, and sexual or severe

 physical abuse), § 1B1.13(b)(5) includes a catchall provision stating that extraordinary and

 compelling reasons may exist when a defendant presents “any other circumstance or

 combination of circumstances.” (emphasis added). This language could not be broader, and

 there is no reason to believe that Taylor’s lengthy sentence, separate and apart from the

 sentencing disparity created by the stacked § 924(c) convictions, cannot be among the

 circumstances the Court may consider.19

         Indeed, Taylor’s sentence is not the product of rote application of mandatory sentencing

 provision but rather the result of extraordinary prosecutorial discretion that saw a first time


 19
      See, e.g., United States v. Robinson, No. 89-cr-908, 2022 WL 4119800, at *5 (N.D. Ill. Sept. 9,
      2022) (finding, post-Thacker, that defendant being “incarcerated for a remarkably long time” was a
      “factor[] favor[ing] compassionate release”); United States v. Kerby, No. 8:02-cr-336, 2022 WL
      16837039, at *9 (D. Neb. Nov. 9, 2022) (considering, as part of extraordinary and compelling
      analysis, excessive sentence resulting from plea bargain that was reached “against the backdrop of
      the mandatory sentencing Guidelines,” whereas, post-Booker, the defendant would have greater
      “bargaining leverage,” and finding Crandall does not categorically bar consideration of sentence
      length); United States v. Littles, No. 1:98-cr-056, 2022 WL 4473609, at *4 (M.D. Pa. Sept. 26, 2022)
      (considering as an extraordinary and compelling reason, post-Andrews, the defendant’s “extended
      sentence”—that is, a “decades-long sentence for a drug-related crime imposed under the mandatory
      guidelines scheme”—combined with defendant’s advance age, pre-existing conditions, and
      exemplary conduct while incarcerated); see also United States v. Reyes, No. 04-cr-970, 2020 WL
      1663129, at *2, *5 (N.D. Ill. Apr. 3, 2020) (finding that “because [defendant] has served most of his
      sentence already,” and seeing “no evidence in the text that the catch-all provision is so constricted,”
      the court considered the defendant’s “excessive sentence [as] an individual and personal
      circumstance”); United States v. Adams, 512 F. Supp. 3d 901, 913 (E.D. Mo. 2021) (finding that
      because defendant’s career offender designation “overstates his criminal history and the gravity of
      his single prior felony,” such an “overly harsh sentence[] and sentencing disparities [are] factors
      contributing to ‘extraordinary and compelling reasons’”).



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 offender who was initially charged with an offense that would have likely resulted in a state

 sentence of six years (with possibility of parole) 20 subjected instead to federal charges that

 resulted in a mandated 37-year sentence. Taylor’s 444-month sentence reflects an extraordinary

 choice by the government: to charge Taylor in a manner that would result in an unusually long

 sentence.21 This Court questioned the reasonableness of those charges at sentencing but was

 bound by settled law to impose an indefensible sentence. Dkt. No. 79 (Sent’g Tr.) at 9. Section

 1B1.13(b)(5) of the amended policy statement allows the Court to consider this lengthy

 sentence—longer than 99.9% of all federal sentences—to determine whether, apart from the

 change in the law, Taylor’s unusually long sentence qualifies for relief.

                         b.      Taylor’s relative youth at the time of his offense, in combination
                                 with other factors, is an extraordinary and compelling reason for
                                 sentence reduction.

         Taylor’s relative youth (age 21) at the time he committed his crimes is an additional

 factor demonstrating extraordinary and compelling reasons for a sentence reduction. Section

 1B1.13(b)(5) now expressly recognizes, and allows this Court to consider, cf. Dkt. No. 133 at 6,

 20
      See Ind. Code § 35-50-2-1(c)(3) (2009) (imposing a sentence of 6 years to 20 years for Class B
      Felony Robbery); Ind. Code § 35-50-2-1(c)(5) (2009) (sentence of 6 months to 2.5 years for felony
      involving a sawed-off shotgun); Ind. Code § 35-50-3-1(b) (2009) (sentence of “not more than 1
      year” for carrying a handgun without a license).
 21
      Other courts in this Circuit have found that an unusually long sentence due to prosecutorial decision-
      making could be extraordinary and compelling. See Logan, 2023 WL 2771165, at *4 (concluding
      that a now disavowed prosecutorial practice producing large sentences based on stash house raids
      constitutes an extraordinary and compelling reason warranting a sentence reduction); United States v.
      White, No. 09 CR 687-4, 2021 WL 3418854, at *4 (N.D. Ill. Aug. 5, 2021) (concluding that a 25-
      year mandatory sentence based on stash house raids and now abandoned prosecution policies
      constitutes an extraordinary and compelling reason); United States v. Conley, No. 11 CR 0079-6,
      2021 WL 825669, at *4 (N.D. Ill. Mar. 4, 2021) (concluding that a 15-year minimum sentence based
      upon the government’s arbitrary amount of cocaine found in a fake stash house constitutes an
      extraordinary and compelling reason warranting a sentence reduction); United States v. Liscano, No.
      02 CR 719-16, 2021 WL 4413320, at *4–7 (N.D. Ill. Sept. 27, 2021) (concluding that a sentencing
      disparity resulting from the way a prosecutor charged the defendant for exercising his right to trial
      constituted extraordinary and compelling reasons) abrogated on other grounds by United States v.
      Brock, 39 F.4th 462 (7th Cir. 2022).



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 that reasons other than those specified in § 1B1.13 can qualify a defendant for a sentence

 reduction if they are of similar gravity to the specified reasons. U.S.S.G. § 1B1.13(b)(5). In

 addition to recognizing age as a potentially relevant reason for sentence reduction, the

 Commission’s “Reason for Amendment” explains that the fact that a defendant’s offenses

 “occurred when the defendant was in his late teens or early twenties”—as Taylor was—can

 qualify as a further reason for a sentence reduction when combined with rehabilitation. Ex. E, at

 7.

         Neuroscience research since Taylor was sentenced has established that the brain—

 including the regions responsible for self-control and judgment—continues to develop into a

 person’s mid-to-late twenties.       In a study funded by the DOJ, researchers opined that

 “adolescents and young adults simply do not have the physiological capacity of adults over age

 25 to exercise judgment or control impulses” and concluded that policymakers should implement

 a “categorical rule of youthfulness as a mitigating factor in sentencing.” 22 As the scientific

 community’s understanding of how young people’s brains has advanced, courts around the

 country have recognized that a defendant’s relative youth can be an extraordinary and

 compelling reason for a sentence reduction. 23 Similarly, this Court can and should weigh

 Taylor’s age in favor of relief.


 22
      James C. Howell et al., Bulletin 5: Young Offenders and an Effective Response in the Juvenile and
      Adult Justice Systems: What Happens, What Should Happen, and What We Need to Know 18, 29
      (2013), https://www.ncjrs.gov/pdffiles1/nij/grants/242935.pdf.
 23
       See McCoy, 981 F.3d at 286 (describing “defendants’ relative youth – from 19 to 24 years old – at
      the time of their offenses” as “a factor that many courts have found relevant under
      § 3582(c)(1)(A)(i)”); United States v. Brooker, 976 F.3d 228, 238 (2d Cir. 2020) (recognizing that
      “Congress seemingly contemplated that courts might consider” a defendant’s “age at the time of his
      crime . . . in favor of a sentence reduction”); United States v. Maumau, No. 2:08-CR-00758-TC-11,
      2020 WL 806121, at *5 (D. Utah Feb. 18, 2020), aff’d, 993 F.3d 821 (10th Cir. 2021) (finding that,
      inter alia, defendant’s age (20 years old at time of arrest and 24 years old at time of sentencing)
      could be an extraordinary and compelling reason for sentence-reduction); United States v. Johnson,
      No. 1:97-CR-314-AJT, 2023 WL 5049267, at *5–6 (E.D. Va. Aug. 8, 2023) (concluding that


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                         c.      Taylor’s Exceptional Rehabilitation, in Combination with the
                                 Other Factors Discussed Above, Supports a Finding of
                                 Extraordinary and Compelling Reasons for Relief.

         While Taylor’s unusually long sentence is, standing alone, an extraordinary and

 compelling reason for relief, Taylor’s rehabilitation provides further confirmation that he

 qualifies for a sentence reduction. Just like others who have received reduced sentences in this

 circuit, Taylor “has taken advantage of every opportunity to not only better himself but also to

 positively impact others” and “demonstrated a commitment to securing gainful employment

 upon release and denouncing his past life of unlawful activity.” Logan, 2023 WL 2771165, at

 *6. 24 Indeed, this Court has already recognized Taylor’s “good conduct and his efforts at

 rehabilitation.” Dkt. No. 133 at 6.


      defendant’s age (20 years old at time offences began, 25 years old at time of arrest) “weighs in favor
      of relief”); United States v. Harris, No. CR 97-399-1, 2020 WL 7861325, at *1, *6 (E.D. Pa. Dec.
      31, 2020) (defendant’s “young age at the time of the offenses” (24 years old) contributed to
      establishment of extraordinary and compelling circumstances); United States v. Fowler, 544 F. Supp.
      3d 764, 766 (N.D. Tex. 2021) (“[T]he Court is mindful of the fact that at the time Fowler’s offenses
      herein were committed, he was only twenty-five years old”); United States v. Baker, No. 10-20513,
      2020 WL 4696594, at *3 (E.D. Mich. Aug. 13, 2020) (concluding that defendant was eligible for
      sentence reduction based on, inter alia, defendant’s relative youth (24 years old at time of
      sentencing)); United States v. Steward, No. 1:95-CR-05111-JLT, 2022 WL 1645087, at *4 (E.D. Cal.
      May 24, 2022) (taking into account young age of defendant who was “only 21 years old at the time
      of the robberies”); United States v. Williams, No. CR 91-559-6 (TFH), 2021 WL 5206206, at *8
      (D.D.C. Nov. 9, 2021) (taking into account defendant’s relative youth (23 years old at time of
      sentencing)).
 24
      See also, e.g., Peoples, 41 F.4th at 842 (agreeing that “‘there is no indication that successful
      rehabilitation efforts may not be considered as one among other factors’ warranting a reduced
      sentence under § 3582(c)(1)(A)”) (quoting McCoy, 981 F.3d at 286 n. 9); United States v. Spagnola,
      No. 07 CR 441-2, 2023 WL 5004396, at *4 (N.D. Ill. June 22, 2023) (concluding that defendant’s
      “commendable” rehabilitation, evidenced by consistent employment in position “available only to
      inmates who exhibit a degree of reliability and responsibility” and the absence of any recent
      significant disciplinary infraction, supported sentence reduction); United States v. Ward, No. 09 CR
      687-3, 2023 WL 5004408, at *4 (N.D. Ill. June 22, 2023) (same); United States v. Chan, No. 96-CR-
      00094-JSW-13, 2020 WL 1527895, at *6 (N.D. Cal. Mar. 31, 2020) (considering “rehabilitation
      efforts in combination with the amendments to Section 924(c)’s stacking provisions” to demonstrate
      extraordinary and compelling circumstances); Bellamy v. United States, 474 F. Supp. 3d 777, 786
      (E.D. Va. 2020) (“Petitioner’s rehabilitative efforts assist in forming an extraordinary and
      compelling basis for relief.”); United States v. Marks, 455 F. Supp. 3d 17, 25–26 (W.D.N.Y. 2020)
      (“Several courts have recently ruled that the combination of changes to the ‘stacking’ provisions of


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         Taylor has completed more than 115 educational courses, job training programs, and

 apprenticeships—totaling approximately than 10,000 hours.               See Ex. B.      Because of this

 programming, he has developed job skills in culinary arts, plumbing, carpentry, computers,

 electrical, housekeeping, and office management, which have prepared him to reenter the

 workforce and reduce his likelihood of reoffending upon release.25

         Taylor also has an extensive work history, holding steady jobs “with a multitude of

 responsibilities” for the past two decades. Summary Reentry Plan – Progress Report, Dkt. No.

 104-1 at 1; Ex G, Inmate History – Wrk (sic) Detail (Nov. 20, 2023). He currently works at the

 commissary at FCI Thomson, and he has a job offer to work at a restaurant in Indianapolis upon

 release. Ex. C.

         While incarcerated, Taylor has not only undergone remarkable rehabilitation, bettering

 himself through education and work opportunities, but he has also spent significant time

 developing his faith and contributing to his church community. Indeed, if released, Taylor plans

 to join his father’s church and mentor the young people at Paraclete Life Missionary Baptist

 Church. Taylor is, by all accounts, a different man than he was when he was arrested over 16

 years ago.




      § 924(c), coupled with the defendant's rehabilitation, establish extraordinary and compelling
      conditions warranting a sentence reduction.”).
 25
      A DOJ-funded study confirms that inmates like Taylor who participate in correctional education
      programs have 43 percent lower odds of returning to prison than those who did not. U.S. Dep’t of
      Just., Prison Reform: Reducing Recidivism By Strengthening The Federal Bureau of Prisons (last
      updated Mar. 6, 2017), https://www.justice.gov/archives/prison-reform (citing Lois M. Davis, et al,
      Evaluating the Effectiveness of Correctional Education, RAND Corporation 32 (2013), p. xvi).



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                        d.      Taylor’s significant family support and strong release plan are
                                additional factors favoring relief under Subsection (b)(5).

         Taylor’s family support at home and strong release plan further supports a finding of

 extraordinary and compelling circumstances warranting his release.26 Numerous letters of

 support from his family and friends paint a picture of a community ready to welcome Taylor

 home and support him. See Ex. D (stating that Taylor could stay with her once released, and

 describing that Taylor’s influence on their family and her children “has been immeasurable”);

 Ex. H, Letter from Jonathan Ockletree (describing the “meaningful relationships” that Taylor has

 established with “his child, nieces, nephews, sisters, brothers and many other family members”);

 Ex. I, Letter from Janea Reaves (describing Taylor as always exhibiting “kindness, empathy, and

 a willingness to help those in need”); Ex. J, Letter from Daughter.

         Despite being faced with 37 years in prison, Taylor has remained, in his sister’s words,

 “the backbone of our close-knit family.” Ex. D. Throughout his incarceration, he has been

 committed to fostering his bonds with his daughter, who was born shortly after his arrest. Taylor

 maintains a very good relationship with his daughter who is now 16, and she longs to be reunited

 with her father so that she can benefit from his guidance and so that she can help him reintegrate

 into society. Ex. J. Taylor has also maintained a strong relationship with his sister, Lauren

 Taylor, who has offered Taylor a place to live upon his release and is “ready to support him on

 his journey toward rehabilitation.” Ex. D. Taylor lost his mother in 2017 and despite his own

 grief, “selflessly supported and guided [his family] through the grieving process.” Id. He also




 26
      See United States v. Steele, No. 10-20037-01-JWL, 2021 WL 2711176, at *3 (D. Kan. July 1, 2021)
      (granting relief in part because of the “strong family support that defendant will experience upon
      release); United States v. Rogers, No. CR-13-15-BU-BMM, 2023 WL 121224, at *3 (D. Mon. Jan. 6,
      2023) (granting relief in part because of “strong family support”).



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 has a strong relationship with his father and hopes to help his father with his church ministry

 upon his release.

        In addition to the incredible support of his loving family, Taylor also has a strong release

 plan that includes a job offer from a local restauranteur in Indianapolis. Ex. C (“We are

 confident that Mr. Taylor will benefit from the structure and responsibility that employment

 provides, contributing positively to his reintegration process. Our team is prepared to assist him

 in his professional development and personal growth.”). The remarkable family and community

 support that Taylor will have upon his release provides yet another extraordinary and compelling

 reason for release.

        For all the reasons set forth above, extraordinary and compelling reasons exist qualifying

 Taylor for a sentence reduction to time-served.


        C.      The § 3553(a) Factors Support a Sentence Reduction, and Taylor Poses No
                Danger to the Public.

        Section 1B1.13 allows a judge to reduce a defendant’s sentence if, after considering “the

 factors set forth in 18 U.S.C. § 3553(a),” the court determines that “the defendant is not a danger

 to the safety of any other person or the community, as provided in 18 U.S.C. § 3142(g).”

 § 1B1.13(a); see Kurzynowski, 17 F.4th at 759 (noting that, once an extraordinary and

 compelling reason is established, the court should consider whether “release [is] appropriate

 under § 3553(a)”). The Supreme Court has recognized that when applying the § 3553(a) factors,

 a defendant’s post-sentencing conduct “provides the most up-to-date picture of [a defendant’s]

 ‘history and characteristics.’” See Pepper v. United States, 562 U.S. 476, 491 (2011) (quoting

 § 3553(a)(1)); see also United States v. Shaw, 957 F.3d 734, 741 (7th Cir. 2020) (“[C]onduct

 after sentencing is plainly relevant to the history and characteristics of the defendant; pertinent to

 the need for the sentence imposed; and may critically inform a sentencing judge's overarching


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 duty under § 3553(a) to impose a sentence sufficient, but not greater than necessary, to comply

 with the sentencing purposes set forth in § 3553(a)(2).”) (internal quotations omitted). The text

 of § 3142(g) likewise requires courts to evaluate a defendant’s dangerousness based on their

 present characteristics, by directing courts to consider “the nature and seriousness of the danger

 to the person or the community that would be posed by the person’s release.” 18 U.S.C.

 § 3142(g) (emphasis added). Taylor’s present characteristics clearly establish that the § 3553(a)

 factors weigh heavily in favor of relief and that he is not a danger to society.

                 1.      The Relevant § 3553(a) Factors Weigh Heavily in Favor of Relief

         Taylor’s rehabilitation and sustained commitment to his family and prison community

 not only constitute extraordinary and compelling reasons warranting a sentence reduction, but

 also weigh heavily in favor of a reduction to time served. 27 Though Taylor’s crimes were

 serious, and nothing in this memorandum is intended to suggest otherwise, he has accepted full

 responsibility for and is deeply remorseful for his actions and the pain he caused to both his

 victims and his family. Taylor has already been subjected to very serious punishment for his

 crimes. He has served over 15 years in prison, which is more than enough time to achieve the

 goals set forth in 18 U.S.C. § 3553(a)(2).

         As described above, Taylor has dedicated himself to rehabilitation, personifying the

 objectives of § 3553(a)(2) that incarceration “provide the defendant with needed educational or

 vocational training, medical care, or other correctional treatment.” He is an active member of the




 27
      See Brown, 2020 WL 4569289, at *7 (recognizing the “thoroughly documented changes” in the
      defendant’s character and life as justification for granting sentence reduction); Spagnola, 2023 WL
      5004396, at *4 (noting defendant’s “marked improvement while incarcerated” and his “ability to
      cultivate responsible behaviors” as demonstrated through his employment as reasons for granting
      sentence reduction).



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 church community in prison, often playing drums for the church.28 In addition, Taylor has had

 only three discipline violations in the past ten years, none of which were violent, and no

 violations in the past three years, Ex. K, Inmate Discipline Data – Chronological Disciplinary

 Record (Nov. 20, 2023), and he has been classified as a “low risk” for recidivism. Ex. L, FSA

 Recidivism Risk Assessment, at 1 (May 3, 2023). He also has maintained a strong relationship

 with his family, who will support Taylor upon his release, Ex. M, Male Custody Classification

 Form (Apr. 28, 2023) (receiving highest family/community ties score), and he has tangible offers

 for both housing and employment as part of his detailed release plan. 29

                 2.       Taylor is Not a Danger.

         Taylor, now 37 years old, does not pose a danger to himself or the community if released.

 While he engaged in serious criminal behavior at the young age of 21, neuroscience research

 supports the conclusion that violence at such an early age is not a good predictor of future

 recidivism. And according to findings published by the Commission, the data on older age at




 28
      See Richard Stansfield & Thomas J. Mowen, Religious Involvement, Moral Community and Social
      Ecology: New Considerations in the Study of Religion and Reentry, 35 J. Quantitative Criminology
      493 (2019) (highlighting the correlation between religious involvement and lower recidivism).
 29
      Courts have regularly identified detailed release plans that include family support and offers of
      housing and employment, as is the case here, as weighing heavily in favor of a sentence reduction.
      See United States v. Norris, No. 1:08-cr-00170, 2020 WL 6583084, at *5 (S.D. Ind. Nov. 10, 2020)
      (noting that the defendant “presented a promising and viable release plan” indicating his intent “to
      reside with his sister” with “financial support from his daughter,” and finding that “these
      circumstances promise a level of stability that will facilitate his law-abiding reentry to society with a
      peaceful assimilation into the community”); United States v. Harris, No. 06 CR 586, 2023 WL
      6847104, at *4 (N.D. Ill. Oct. 17, 2023) (noting as a reason for granting sentence reduction the
      defendant’s “thorough release plan which includes his intended employment in the trucking
      industry” and aspirations “to volunteer for the 6x6 Brotherhood Foundation, a program designed to
      help young men focus on their education and futures”); United States v. Santilli, No. 18 CR 357-1,
      2020 WL 6446665, at *3 (N.D. Ill. Nov. 3, 2020) (finding that defendant’s “concrete release plan”
      supports early release because he will be living in Arkansas “away from the influences in the
      Chicagoland area that led him to drug use and crime” and also has a job offer from his brother for
      “stable, fulltime employment”).



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 time of release is clear: “the older the age group, the lower the rearrest rate. The same pattern

 holds for reconviction and reincarceration.”30

         Recent scientific findings on young offenders underscore two important points. First,

 Taylor’s mistakes as a young offender are likely not an indication of an indelible personality

 trait. 31 Second, there is every reason to believe that Taylor has a dramatically reduced

 disposition toward criminal behavior. The BOP’s own assessment of Taylor’s recidivism risk

 supports these conclusions. Ex. L.

         Taylor has worked tirelessly to turn his life around, and his rehabilitation, extensive

 family support system, and his continued commitment to learning demonstrate his ability to

 swiftly reintegrate into society. He has done everything in his power to earn a second chance

 before his projected release date in 2040. And the Sentencing Commission, fulfilling the duty

 imposed on it by Congress, has now authorized this Court to bring a measure of justice to an

 excessive sentence that it was forced to impose years ago. This Court has the opportunity to give

 him decades of his life back, and we respectfully suggest he has earned that opportunity.




 30
      U.S. Sent’g Comm’n, Recidivism Among Federal Offenders: A Comprehensive Overview 23, Fig. 11
      (2016), https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-
      publications/2016/recidivism_overview.pdf.
 31
      See, e.g., BJ Casey et al., How Should Justice Policy Treat Young Offenders?: A Knowledge Brief of
      the MacArthur Foundation Research Network on Law and Neuroscience 2 (Feb. 2017).



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                                          CONCLUSION

           We respectfully urge the Court to use the authority conferred by the First Step Act and

 the Sentencing Commission’s recent amendment to § 1B1.13 to reduce Taylor’s sentence to time

 served.

      Dated: March 5, 2024                    Respectfully Submitted

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                                  CERTIFICATE OF SERVICE

        I certify that on March 5, 2024, a copy of the foregoing MEMORANDUM OF LAW IN

 SUPPORT OF MOTION FOR SENTENCE REDUCTION PURSUANT TO 18 U.S.C. §

 3582(c)(1)(A)(i) was filed electronically. Service of this filing will be made on all ECF-

 registered counsel by operation of the Court’s electronic filing system. Parties can access this

 filing through the Court’s system.


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